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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

In re:
                                                               Case No. 18-21025-RBR
CARLOS R. ESTREMADOYRO

                                                               Chapter 7
              Debtor.
                                                /

  TRUSTEE'S APPLICATION TO EMPLOY JASON WELT OF TRUSTEE REALTY,
     INC., AS REAL ESTATE AGENT NUNC PRO TUNC TO JANUARY 7, 2019

         The Trustee, Sonya L. Salkin, hereby files this Application to Employ Jason Welt of

Trustee Realty, Inc. as Real Estate Agent, nunc pro tunc to January 7, 2019, pursuant to Local

Rule 9013-l (C)(4) and 11 U.S.C. §327, and states:

         1.     The estate is the owner of real property located in Broward County, Florida at

6300 Southwest 188th Avenue, Southwest Ranches, Florida 33332.

         2.     In order to market this property more effectively and thereby liquidate the

property for the best and highest price, the trustee wishes to employ a real estate agent.

         3.     The trustee believes that the retention of Jason Welt of Trustee Realty, Inc. is in

the best interest of the bankruptcy estate. Mr. Welt, a licensed real estate agent, has on the

trustee's behalf examined the property, which is a residential property, and has agreed to market

and show the property to prospective purchasers and otherwise represent the estate as seller in

connection with the sale of the property.

         4.     The trustee is satisfied from the affidavit attached as Exhibit A that Mr. Welt is

disinterested within the meaning of 11 U.S.C. §101(14), as required by §327(a).

         5.     The listing agreement, attached as Exhibit B, will provide among other things,

that the broker shall receive a reduced commission in the amount of 6% of the purchase price of
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the sale of the property, and that the trustee will be selling the property as is, where is, with no

representations or warranties and only upon approval by the bankruptcy court.

       WHEREFORE, the trustee seeks the entry of an Order Approving the Application to

Employ Jason Welt of Trustee Realty, Inc. as Real Estate Agent, nunc pro tunc to January 7,

2019, upon the terms and conditions stated.

                                                     By: /s/ Sonya L. Salkin, Trustee
                                                             Sonya L. Salkin, Trustee
                                                             P.O. Box 15580
                                                             Plantation, FL 33318
                                                             954-423-4469
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EXHIBIT “A”
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